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 9                       UNITED STATES DISTRICT COURT
10                             DISTRICT OF NEVADA
11
     UNITED STATES OF AMERICA,                Case No. 3:93-cr-00075-HDM
12
                             Plaintiff,
13        v.                                              ORDER
14   PAULA ANDREWS,
15                           Defendant.
16

17        The defendant’s motion for leave to file Exhibit B, which

18   consists of the defendant’s medical records, under seal (ECF No.

19   196) is GRANTED. Exhibit B (ECF No. 195) is deemed properly

20   filed under seal.

21        IT IS SO ORDERED.

22        DATED: This 21st day of October, 2020.
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                                      UNITED STATES DISTRICT JUDGE
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